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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION


CHILDREN’S HEALTHCARE OF
ATLANTA, INC. ,
                Plaintiff,                              CIVIL ACTION FILE

vs.                                                     NO. 1: 13-cv-3531-WSD

SHARON MCCRAY,
             Defendant.


                                    JUDGMENT

       Defendant having presented plaintiff with an offer of judgment to allow judgment to

be taken against them, in which the plaintiff has accepted in accordance with Rule 68 of

the Federal Rules of Civil Procedure,

       JUDGMENT IS HEREBY ENTERED in favor of the plaintiff CHILDREN’S

HEALTHCARE OF ATLANTA, INC., against the defendant SHARON MCCRAY, for the

sum of $1,000.00 inclusive of all damages, costs, reasonable attorneys’ fees, interest, and

any other expenses recoverable under any state or federal law that CHOA could claim in

this action.

        Dated at Atlanta, Georgia, this 9th day of June, 2014.

                                                        JAMES N. HATTEN
                                                        CLERK OF COURT

                                                  By: s/ A. Coleman
                                                      Ashley Coleman, Deputy Clerk

Prepared, Filed, and Entered
in the Clerk’s Office
June 9, 2014
James N. Hatten
Clerk of Court

By: s/ A. Coleman
      Deputy Clerk
